 Case 3:14-cv-02129-MMA-AGS Document 210-1 Filed 08/25/17 PageID.4431 Page 1 of 6



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 7   UNITED STATES OF AMERICA
 8                               UNITED STATES DISTRICT COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA

10   LOU BAKER, individually and on                  Case No. 3:14-cv-2129-MMA-AGS
     behalf of all others similarly situated,
11                                                   CLASS ACTION
                  Plaintiff,
12                                                   MEMORANDUM OF POINTS AND
                         v.                          AUTHORITIES IN SUPPORT OF
13                                                   UNITED STATES’S UNOPPOSED
     SEAWORLD ENTERTAINMENT,                         MOTION:
14   INC., et al.,                                    (1) TO INTERVENE; and
                                                      (2) TO PARTIALLY STAY
15                Defendants.                              DISCOVERY
16
                                                     Date: T.B.D.
17                                                   Time: T.B.D.
                                                     Courtroom: 3D
18                                                   Judge: Hon. Michael M. Anello
19

20   I.    INTRODUCTION
21         The Unites States seeks a partial and time-limited stay of discovery in this action
22   because of an ongoing federal criminal investigation. Counsel for the United States has
23   met and conferred with counsel for the Plaintiff and counsel for the Defendants and
24   obtained their agreement to the terms of the proposed order. Pursuant to the terms of the
25   proposed order—which are uncontested by all of the parties to this action—depositions
26   would be stayed through November 30, 2017, subject to the United States’s ability to
27   seek an extension thereof.
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 Case 3:14-cv-02129-MMA-AGS Document 210-1 Filed 08/25/17 PageID.4432 Page 2 of 6



 1         The partial stay of discovery being sought by the United States appropriately
 2   balances the interests of the civil litigants with the need of the United States to conduct
 3   its criminal investigation.
 4         The proposed partial stay is not indefinite: it would expire November 30, subject
 5   to the United States’s ability to move for further stays. Nor would the partial stay
 6   terminate all action in this case—the parties could continue, for instance, to take written
 7   and document discovery.
 8         Because of the important interest in maintaining the integrity of criminal
 9   investigations, it is well-established that, under these circumstances, such intervention is
10   appropriate and in the public interest. Further, the fact that the government’s proposal is
11   unopposed by the civil litigants is an indication of the reasonableness of the relief being
12   sought.
13   II.   FACTS
14         On June 23, 2017, Defendant SeaWorld Entertainment, Inc., furnished to U.S.
15   Securities and Exchange Commission a Form 8-K, in which it disclosed, inter alia, “an
16   investigation by the U.S. Department of Justice concerning disclosures and public
17   statements made by the Company and certain executives and/or individuals on or before
18   August 2014, including those regarding the impact of the ‘Blackfish’ documentary, and
19   trading in the Company’s securities.” (ECF 191-1.)
20         Because of the sensitive nature of the ongoing federal criminal investigation, the
21   government is prepared to provide the Court, should the Court desire it, with further
22   details of the status of that investigation through an ex parte declaration or other ex parte
23   communication. 1
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              Pursuant to the Court’s Local Rules, the government will submit electronically to
26   chambers a proposed form of order. The government has received from counsel for the
     Plaintiff and from counsel for the Defendants agreements that they do not oppose the
27   relief sought through that proposed form of order. One provision of that proposed form
     of order, should it be entered by the Court, permits the United States to submit an ex
28   parte declaration. The government is prepared to make such a submission should the
     Court permit it and desire it.
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 Case 3:14-cv-02129-MMA-AGS Document 210-1 Filed 08/25/17 PageID.4433 Page 3 of 6



 1          The United States understands that discovery is currently ongoing in this matter,
 2   with a fact discovery cutoff of October 20, 2017. (ECF 166.) The United States further
 3   understands that the parties have taken written and document discovery, and the parties
 4   have been in contact with each other regarding the scheduling of certain depositions.
 5   Because the taking of these depositions may implicate and negatively affect the ongoing
 6   criminal investigation, counsel for the United States contacted counsel for the Plaintiff
 7   and counsel for the Defendants and met and conferred with them, which ultimately led to
 8   the filing of this motion, which is uncontested. 2
 9   III.   LEGAL STANDARD
10          Under Federal Rule of Civil Procedure 24(a)(2), any person may intervene in an
11   action when that person “claims an interest relating to the property or transaction that is
12   the subject of the action, and [he] is so situated that disposing of the action may as a
13   practical matter impair or impede [his] ability to protect [his] interest . . . .”
14   Alternatively, Rule 24(b) permits intervention when an applicant “has a claim or defense
15   that shares with the main action a common question of law or fact.” Fed. R. Civ. P.
16   24(b)(1)(B).
17          Whatever the basis, “[i]t is well established that the United States Attorney may
18   intervene in a federal civil action to seek a stay of discovery when there is a parallel
19   criminal proceeding which is anticipated or already underway that involves common
20   questions of law or fact.” Bureerong v. Uvawas, 167 F.R.D. 83, 86 (C.D. Cal. 1996)
21   (quoting SEC v. Mersky, No. 93-5200, 1994 WL 22305, at *1 (E.D. Pa. Jan. 25, 1994)).
22          “Courts have granted stays of discovery in order to protect the integrity of the
23   pending criminal investigations, even where an indictment has not yet been returned.”
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              The United States understands that the Plaintiff and the Defendants have reached
     an agreement to jointly move for the modification the scheduling order in this case,
26   pursuant to Federal Rule of Civil Procedure 16(b)(4). The United States takes no
     position with respect to any such motion, when or if it is made. Further, although the
27   proposed form of order permits the government to seek additional stays or partial stays
     of discovery (including, but not limited to, an extension of the terms of the proposed
28   partial stay requested here), the Plaintiff and the Defendants reserve their respective
     rights as to whether to oppose or to not oppose any such future government request.
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 Case 3:14-cv-02129-MMA-AGS Document 210-1 Filed 08/25/17 PageID.4434 Page 4 of 6



 1   SEC v. Downe, No. 92 Civ 4092, 1993 WL 22126, at *13 (S.D.N.Y. Jan. 26, 1993)
 2   (citing cases). Whether to grant a stay involves a balancing of various interests,
 3   including those of the civil litigants, but “[a]dministrative policy gives priority to the
 4   public interest in law enforcement,” such that it is “necessary and wise that a trial judge
 5   should give substantial weight to [the public interest] in balancing the policy against the
 6   right of a civil litigant to a reasonably prompt determination of his civil claims or
 7   liabilities.” Campbell v. Eastland, 307 F.2d 478, 487 (5th Cir. 1962); accord Bureerong,
 8   167 F.R.D. at 87.
 9   IV.   ARGUMENT
10         A.     Intervention Under Rule 24 Is Appropriate.
11         Either provision of Rule 24 supports intervention here. See, e.g., Philip Morris
12   Inc. v. Heinrich, No. 95 Civ. 0328, 1996 WL 363156, at *18 (S.D.N.Y. June 28, 1996)
13   (stating “a district court does not abuse its discretion in allowing intervention under
14   either of the provisions of Rule 24” and granting government motion for a stay).
15         This case presents the classic instance in which the government is permitted,
16   under Rule 24, to intervene in a civil proceeding, i.e., for the purpose of seeking a stay of
17   civil discovery based on the pendency of a criminal investigation. Indeed, it is well
18   recognized that the public interest in the integrity of criminal investigations is vindicated
19   through such a stay, because it prevents the premature disclosure of evidence that could
20   impede the criminal investigation.
21         B.     This Court Should Grant the Requested Partial Stay.
22         The Court has the authority to stay civil discovery in this action pending the
23   resolution of the government’s criminal investigation. See Grubbs v. Irey, No. Civ. S-
24   06-1714 RRB GGH, 2008 WL 906246, at *1 (E.D. Cal. Mar. 31, 2008). Such a
25   determination is made “in light of the particular circumstances and competing interests
26   involved in the case” and with consideration of the following factors:
27
           (1) the interest of the plaintiffs in proceeding expeditiously with [the]
28         litigation or any particular aspect of it, and the potential prejudice to
                                                   4
 Case 3:14-cv-02129-MMA-AGS Document 210-1 Filed 08/25/17 PageID.4435 Page 5 of 6



 1          plaintiffs of a delay; (2) the burden which any particular aspect of the
 2
            proceedings may impose on defendants; (3) the convenience of the court in
            the management of its cases, and the efficient use of judicial resources; (4)
 3          the interests of persons not parties to the civil litigation; and (5) the interest
 4
            of the public in the pending civil and criminal litigation.”

 5   Id. at *1 (quoting Keating v. Office of Thrift Supervision, 45 F.3d 322, 324, 325
 6   (9th Cir. 1995). Courts have granted discovery stays “to protect the integrity of
 7   the pending criminal investigations, even where an indictment has not yet been
 8   returned.” Downe, 1993 WL 22126, at *13; accord Grubbs, 2008 WL 906246, at
 9   *2 (granting six-month discovery stay based ongoing investigation).
10          These factors weigh in favor of a stay. With respect to the interests of the
11   Plaintiff and the Defendants, the requested stay does not put the civil litigation
12   completely on hold. Rather, it merely imposes a partial and time-limited stay on
13   one aspect of the litigation (depositions), while allowing the parties to otherwise
14   litigate their case. Further, the parties are not contesting the government’s
15   request. See, e.g., Bureerong, 167 F.R.D. at 87 (citing the plaintiffs’ lack of
16   opposition to a requested stay as a factor militating in favor of the stay).
17          As to judicial economy, the nature of the criminal investigation (as
18   described in the company’s recent Form 8-K) and the subject matter of the civil
19   action 3 are “related” and “substantially similar.” Grubbs, 2008 WL 906246, at
20   *2. In that regard, resolution of any criminal matter may narrow the scope of this
21   civil action.
22          Next, a stay would serve the interests of the United States, a non-party in
23   this civil action, by preventing premature disclosure of criminal discovery
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             Compare 2d Am. Consol. Class Action Compl. ¶ 3 [ECF 123] (“This action
26   involves a series of false and misleading statements and omissions by Defendants
     regarding the critically acclaimed 2013 documentary Blackfish . . . .”), with, 6/23/2017
27   Form 8-K [191-1] (discussing “an investigation by the U.S. Department of Justice
     concerning disclosures and public statements made by the Company and certain
28   executives and/or individuals on or before August 2014, including those regarding the
     impact of the ‘Blackfish’ documentary, and trading in the Company’s securities”).
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 Case 3:14-cv-02129-MMA-AGS Document 210-1 Filed 08/25/17 PageID.4436 Page 6 of 6



 1   materials and by maintaining the public interest in criminal proceedings that
 2   remain untainted by perjury, manufactured evidence, witness intimidation, and
 3   unfairness due to the limited ability of the government to discover evidence from
 4   potential targets and defendants. See Campbell, 307 F.2d at 487; Grubbs, 2008
 5   WL 906246, at *4; Bureerong, 167 F.R.D. at 86; SEC v. Mersky, No. CIV. A.
 6   93-5200, 1994 WL 22305, at *5 (E.D. Pa. Jan. 25, 1994); Downe, 1993 WL
 7   22126, at *12–13.
 8         Finally, the public interest is in accord. Although the public has an interest
 9   in the resolution of civil cases such as the one here, “that interest pales in
10   comparison to the public interest as a whole in unraveling the criminal . . .
11   scheme and punishing those responsible for that scheme.” Ashworth v. Albers
12   Med., Inc., 229 F.R.D. 527, 532 (S.D. W. Va. 2005); see also Grubbs, 2008 WL
13   906246, at *4 (noting public interest in the priority of a criminal investigation);
14   Bureerong, 167 F.R.D. at 87 (“the interests of the Government in protecting its
15   criminal investigation are clearly the paramount concern here”).
16   V.    CONCLUSION
17         The government has proposed a partial and time-limited discovery stay that
18   is unopposed by the parties and that vindicates the important public interest in the
19   integrity of criminal investigations. It follows that the requested partial stay of
20   discovery should be granted
21         For the foregoing reasons, the United States’s Unopposed Motion to
22   Intervene and to Partially Stay Discovery should be granted.
23   Dated: August 25, 2017.                  Respectfully submitted,
24                                                   SANDRA MOSER
25
                                                     Acting Chief, Fraud Section

26                                                   s/ Michael J. Rinaldi
27                                                   Michael J. Rinaldi
                                                     Trial Attorney
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